Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 1 of 9




             EXHIBIT 5
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 2 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 3 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 4 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 5 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 6 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 7 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 8 of 9
Case 3:16-md-02741-VC Document 3665-6 Filed 05/07/19 Page 9 of 9
